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                                                                                   United States District Court
                                                                 Southern District of Texas
            UNITED STATES DISTRICT COURT***SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                   ENTERED
                                                                                      October 20, 2021
Jose J. Thottumkal,                               §                                  Nathan Ochsner, Clerk
          Plaintiff,                              §
                                                  §
                                                  §          Civil Action 21-2288
                                                  §
                                                  §
AFNI, Inc.,                                       §
             Defendant,                           §

                                  RULE 16 SCHEDULING ORDER

The following schedule shall be followed.   All communications concerning the case shall be
directed in writing to Ellen Alexander, Case Manager for United States District Judge David
Hittner, P.O. Box 61010, Houston, TX 77208.

1.   November 12, 2021            NEW PARTIES shall be joined, with leave of court, by this date.
                                  The attorney causing such joinder shall provide copies of this
                                  ORDER to the new parties.

2A. December 31, 2021             THE PARTY with the burden of proof shall designate EXPERT
                                  WITNESSES. Designation shall be in writing to opponent. Expert
                                  reports shall be served within 60 days of the designation.

 B. January 31, 2022              THE   RESPONDING PARTY shall designate EXPERT WITNESSES.
                                  Designation shall be in writing to opponent.    Expert reports
                                  shall be served within 60 days of the designation.

3.   November 12, 2021            AMENDMENTS to pleadings, with leave of court, shall be made by
                                  this date.

4.   April 29, 2022               DISCOVERY shall be completed by this date.

5.   May 31, 2022                 MOTION CUT-OFF. No motion, including motions to exclude or
                                  limit expert testimony under Fed. R. Evid. 702, shall be filed
                                  after this date except for good cause shown. See LR 7.

6.   October 31, 2022             The JOINT PRETRIAL ORDER shall be filed on or before this date
                                  notwithstanding that a motion for continuance may be pending.
                                  Parties shall exchange all trial exhibits on or before this date
                                  notwithstanding that a motion for continuance may be pending.
                                  NO LATE EXCHANGES OF EXHIBITS WILL BE PERMITTED. All motions in
                                  limine shall be submitted with the pretrial order. Failure to
                                  file timely a joint pretrial order, motions in limine, or
                                  exchange all trial exhibits may result in this case being
                                  dismissed or other sanctions imposed, in accordance with all
                                  applicable rules.

7.    November/December 2022      TRIAL TERM.   Cases will be set for trial at a docket call,
                                  conducted prior to the trial term or by order of the Court.
                                  Your position on the docket will be announced at that time.

     Jury/Non-Jury ETT: 2 days


All documents filed must be 14 point font, double spaced with not less than one inch margins.


SIGNED on October 20, 2021


                                                              PETER BRAY
                                                      United States Magistrate Judge
